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                   EXHIBIT 23
       Case
2/14/2018     9:18-cv-80176-BB Document 83-23 Gmail
                                              Entered      onDave
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  Fw: Re: Dave
  Lou K



    ----- Forwarded Message -----
    From: Lou K <                    >
    To: "craig.wright@hotwirepe.com" <craig.wright@hotwirepe.com>
    Sent: Wednesday, February 12, 2014, 3:34:40 PM EST
    Subject: Re: Dave

    Craig:

    After reviewing the information you sent , I want to thank you very much.

    My home address is:                        , West Palm Beach, Florida 33417

    I look forward to any information you can give me about my son DAVID. To me,

    he was alway's someone special.        Lou Kleiman


    On Tuesday, February 11, 2014 6:23 PM, Craig S Wright <craig.wright@hotwirepe.com> wrote:
      Hello Louis,
      Your son Dave and I are two of the three key people behind Bitcoin:
      https://bitcoin.org/
      http://www.motherjones.com/politics/2013/04/what-is-bitcoin-explained

      If you have any of Dave’s computer systems, you need to save a file named “wallet.dat”. I
      will explain what this is later. Please understand, I do not seek anything other than to give
      you information about your son.

      Know also that Dave was a key part of an invention that will revolutionise the world:
      http://techcrunch.com/2014/02/10/bitcoin-wins-best-technology-achievement-but-satoshi-
      doesnt-show/

      I will talk to you again soon.

      When I can, I will let you know much more of Dave. I will also help you recover what Dave
      owned.

      I will let you know when I am in the USA,
      –––––––––––––––––––––––––––––––
      Dr. Craig S Wright GSE LLM
      Chief Executive Officer
      Hotwire Preemptive Intelligence (Group)
      Mobile: + 61.417.683.914
      craig.wright@hotwirepe.com




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